Kenyon Instrument Co., Inc., Petitioner, v. Commissioner of Internal Revenue, RespondentKenyon Instrument Co. v. CommissionerDocket No. 24265United States Tax Court16 T.C. 732; 1951 U.S. Tax Ct. LEXIS 231; April 11, 1951, Promulgated *231 Decision will be entered under Rule 50.  1. Petitioner was a subcontractor under United States war contracts.  In 1943 petitioner came to "an agreement" with the Supervisory Cost Inspector, U. S. Navy, to the effect that petitioner had overcharged its customers certain amounts on work done in 1942.  The "agreement" provided that petitioner would refund in quarterly payments, during 1943 and 1944, these overcharges.  The refunds were paid accordingly.  Held: These refunds were properly accruable in 1943 and respondent correctly disallowed a deduction of the payments made in 1944.2. Petitioner computed and paid its New York State franchise taxes in 1944 based on its 1943 and 1944 income, unadjusted by the refunds referred to above.  Held: Respondent did not err in disallowing a deduction for the overpayment of that part of petitioner's franchise taxes for which there was no apparent liability.  Hart Furniture Co., 12 T.C. 1103"&gt;12 T. C. 1103, reversed on another issue (C. A. 5), 188 F.2d 968"&gt;188 F. 2d 968.3. In 1945 formal renegotiation agreements were signed with respect to petitioner's war contracts for 1943 and 1944.  These agreements provided*232  for refunds of excessive profits relating to those years, which refunds were duly made.  Based on the reduction of petitioner's net income for the years in which these refunds were made, petitioner requested in 1946 and 1947 and received in 1947, refunds of state franchise taxes. Held: All the factors necessary to the accrual of these refunds of franchise taxes were known to petitioner in 1945 when the renegotiation agreements were made.  The refunds were accruable as income in 1945 and not when received.  H. O. Boehme, Inc., 15 T. C. 247. Henry Cassorte Smith, Esq., for the petitioner.Ellyne E. Strickland, Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN *732  Respondent determined deficiencies in the petitioner's tax liabilities as follows:TaxYearAmountIncome1942$ 4,276.5519449,178.60Excess profits194499,459,941945108,347.23Certain adjustments were not contested by the petitioner, leaving only the years 1944 and 1945 affected by the following questions:1. Whether petitioner is entitled to a deduction*234  in 1944 for repayments in that year of price adjustments of war contracts.2. Whether respondent erred in disallowing a deduction for part of a payment in 1944 for New York State franchise taxes.3. Whether petitioner's income in 1945 should include certain refunds of New York State franchise taxes.*733  FINDINGS OF FACT.The petitioner is a corporation organized under the laws of the State of New York, with its principal place of business at Huntington Station, Long Island, New York.  During the periods involved in this proceeding it was engaged in the manufacture of aircraft and other instruments, principally as a subcontractor under various United States war contracts.During the periods involved in this proceeding the petitioner kept its books and filed its Federal income and excess profits tax returns on the accrual basis of accounting by calendar years.  It filed its Federal income and excess profits tax returns for all years with the collector of internal revenue for the first district of New York, at Brooklyn.Prior to January 1, 1943, the petitioner had entered into contracts with various customers who were prime contractors with the United States Government.After negotiations*235  with representatives of the Third Naval District Supervisory Cost Inspector, a branch of the Bureau of Supplies and Accounts of the United States Navy, at New York, New York, the petitioner received from the office of the Supervisory Cost Inspector a memorandum dated July 9, 1943, and a schedule thereto containing proposed price adjustments to be made by the petitioner to certain of its customers in the aggregate amount of $ 409,872.60, covering sales made by the petitioner to such customers during the year 1942 under contracts mentioned in the preceding paragraph.  This memorandum referred to a conference held on July 7, 1943, which was attended by Harold R. Talbot, treasurer of petitioner corporation, and stated, in part, as follows:As agreed to at the conference, you are to issue credit memoranda to the prime contractors in the amounts as indicated in the adjustment column in the attached schedule * * *.  One credit memorandum for each prime contractor will be sufficient if supported by a schedule indicating the order number and contract number and amounts of adjustments making up the total adjustment for the particular contractor. The credit memoranda is to be liquidated by *236  immediate payment of 25% of the total adjustment and the balance to be liquidated at the rate of 25% each quarter thereafter or sooner, if possible.  * * * A letter should be forwarded to the various prime contractors when transmitting credit memoranda advising them that the credit applies on the work performed for their account and the method or arrangements for repayment and that such adjustment was brought about by agreement with representatives of the Navy Department.  * * *In a letter dated August 5, 1943, the petitioner sent to the Supervisory Cost Inspector a revised schedule of proposed price adjustments to be made by petitioner to its customers aggregating $ 393,359.50, which revised schedule was entitled "Computation of Cost, Profit and Adjustment to 31 December 1942." In this letter petitioner referred to the arrangements specified by the Supervisory Cost Inspector in his *734  letter of July 9, 1943, and the discussions had with him since that date and stated that petitioner was also enclosing copies of letters and credit memoranda which were being mailed by petitioner to the various prime contractors affected by the price adjustment.On the same date letters and credit*237  memoranda were mailed by the petitioner to the customers listed in the revised schedule advising that price adjustments were to be made during 1943 and 1944 in respect of 1942 sales made by petitioner.  Each of the letters was dated August 5, 1943, and reads as follows:We enclose our credit memorandum # &nbsp;&nbsp;&nbsp; in the amount of $ &nbsp;&nbsp;&nbsp; which represents an adjustment of invoice prices which we, as a subcontractor, charged you during the calendar year 1942 under various U. S. Government prime contracts.We enclose our check for $ &nbsp;&nbsp;&nbsp; covering 25% of this credit memorandum.  Additional payments of 25% each (without interest) will be made by us on November 5, 1943, February 5, 1944, and May 5, 1944 subject to our right to apply in reduction thereof any unpaid charges we may have outstanding against you on such dates.The above price adjustment and payment arrangements are made in accordance with an agreement with the Office of the Supervisory Cost Inspector, U.S. Navy, Third Naval District, 21 West Street, New York, N. YPursuant to the letters and credit memoranda referred to above, petitioner paid the aggregate amount of $ 197,952.03 to its customers in the year 1943 and *238  $ 195,407.47 in the year 1944.The Navy Price Adjustment Board subsequently considered the matter of petitioner's 1942 profits on sales to its customers and issued to the petitioner a clearance letter, signed in behalf of the Secretary of the Navy and dated February 29, 1944.  The letter reads, in part, as follows:Pursuant to renegotiation, as provided in Section 403 of the Sixth Supplemental National Defense Appropriation Act, 1942, as amended, between you and the Secretary of the Navy, acting through his duly authorized representatives, it has been found that you have not realized any excessive profits during your fiscal year ended December 31, 1942 from your contracts and subcontracts which are subject to renegotiation pursuant to said Section 403, as amended.  The finding herein is based upon the financial and other data submitted by you.* * * *On May 13, 1944, the petitioner requested from the respondent a ruling with respect to the particular years in which the amounts repaid by the petitioner to its customers should be deducted for Federal tax purposes.In a letter dated June 23, 1944, signed by Norman D. Cann, Deputy Commissioner, and addressed to the Internal Revenue Agent*239  in Charge, Brooklyn, New York, it was stated that the petitioner, although it used the accrual method of accounting, should deduct the refund payments as business expenses in "the year in which the refund *735  is actually made or the credit is applied against the obligations of the prime contractor or sub-contractor, due and payable to the taxpayer."On December 13, 1944, the author of the letter referred to above wrote again to the revenue agent, which letter reads, in part, as follows:* * * *While Bureau letter dated June 23, 1944, states that such adjustments are allowable as ordinary and necessary expenses incurred in carrying on a trade or business and are deductible under Section 23 (a) of the Code for the year in which the refund is actually made or the credit applied against obligations of the prime contractor, due and payable to the taxpayer, in accordance with I. T. 3633, I. R. Bulletin No. 1, January 11, 1944, page 10, such refunds are deductible when actually made only when the taxpayer's books are kept on the cash basis.  ( Section 43 Internal Revenue Code.)If the taxpayer keeps its books and files its returns on the accrual basis, as your report indicates that*240  this taxpayer does, and, pursuant to binding agreements in writing between the taxpayer and its customers, the taxpayer has definitely obligated itself to make refunds in specified amounts, such amounts are deductible for the taxable year within which the liability to make the refunds accrues and the amounts thereof are determined and become fixed.Based on the information contained in the report, binding agreements covering the price adjustments were executed on August 5, 1943 aggregating $ 393,359.50 covering sales made in 1942.  Since the obligation was created during 1943, such amount is deductible in 1943 rather than in 1943 and 1944, the years in which refunds were actually made.* * * *On July 15, 1944, petitioner filed its income and excess profits tax returns for 1943 and deducted from its gross income the sum of $ 393,359.50 covering the aggregate payments agreed to be made as hereinabove stated.  This item of $ 393,359.50 is included under "Other Deductions," Schedule K of petitioner's income tax return for 1943, as follows:Credit memoranda issued to customers under date of August 5, 1943 in adjustment of prices charged by the taxpayer for the year 1942 under U. S.*241  Government contracts and subcontracts pursuant to agreement with representatives of the U. S. Navy Department at a conference held July 7, 1943 at the Office of the Supervisory Cost Inspector, Third Naval District, 21 West Street, New York, N. Y&nbsp;&nbsp;&nbsp; 393,359.50.On November 25, 1944, the petitioner filed amended income and excess profits tax returns for 1943 and deducted from its gross income the sum of $ 197,952.03 (instead of the previous amount of $ 393,359.50), representing the payments made in 1943, as stated above.  The rider annexed to these amended returns stated they were filed as a "result" of the ruling above and that the petitioner was entitled to a deduction from 1943 taxable income in the sum of $ 197,952.03 in respect of refunds paid in cash to customers during 1943 in adjustment of prices charged by petitioner for the year 1942 under U. S. Government contracts and subcontracts, and, further, that the cash *736  payments made during 1944 in the aggregate amount of $ 195,407.47 would be treated as a deduction from taxable income in the 1944 tax return.The petitioner, in its income and excess profits tax returns for 1944 filed on June 15, 1945, deducted from its*242  gross income the sum of $ 195,407.47 being the aggregate payments made in the year 1944 to customers as stated above.In the notice of deficiency herein the respondent disallowed the deduction by petitioner in its 1944 income and excess profits tax returns of the amount of $ 195,407.47 representing the payments made to its customers in that year as price adjustments covering excessive 1942 profits, and allowed the amount as an additional deduction in the year 1943.The petitioner duly filed its New York State franchise tax return on July 15, 1944, based upon its 1943 net income, but which income (on which the franchise tax was based) was not reduced by any part of the customer refunds referred to above.  The franchise tax return showed a liability in the amount of $ 62,578.91.The petitioner duly filed its New York State franchise tax return based upon its 1944 net income and showed thereon a franchise tax liability in the amount of $ 47,561.52.The New York State franchise taxes paid on those returns and mentioned in the last two preceding paragraphs, aggregated $ 110,140.43.  This amount was deducted in full in petitioner's Federal income and excess profits tax returns for the year*243  1944.On June 12, 1946, the petitioner filed applications for revision of the New York State franchise tax liability, shown on the returns referred to above, and claimed refunds of franchise tax, based upon the reduction in net income due to the payments made to its customers during 1943 and 1944.In a letter dated February 21, 1947, the New York State Tax Commission wrote petitioner's accountants that the applications for revision mentioned in the preceding paragraph would not be considered until after the final determination of the petitioner's Federal income tax liability for the years 1943 and 1944 and that accordingly the applications were dismissed.In the notice of deficiency herein the deduction taken on the petitioner's 1944 Federal income and excess profits tax returns for New York franchise taxes based upon the years 1943 and 1944 was reduced by the amount of $ 23,767.21, that being the amount of the franchise tax determined by the respondent to be attributable to the reduction of petitioner's income because of petitioner's refunds in 1943 and 1944 relating to 1942 business.On September 8, 1944, the Navy Price Adjustment Board addressed to the petitioner a notice of commencement*244  of renegotiation pursuant *737  to the Renegotiation Act for the purpose of determining the petitioner's allowable profits in respect of war contracts for the year 1943 and, on January 31, 1945, the petitioner executed a formal renegotiation agreement whereby it agreed to repay excessive profits in the amount of $ 731,924, which excessive profits were duly refunded.On October 8, 1945, the Navy Price Adjustment Board addressed to the petitioner a similar notice in respect to war contracts for the year 1944 and on December 27, 1945, the petitioner executed a formal renegotiation agreement whereby it agreed to repay excessive profits in the amount of $ 485,446, which excessive profits were duly refunded.On April 27, 1946, petitioner filed with the New York Corporation Tax Bureau a request for credit or refund in respect of its New York State franchise tax liability based upon its reduction of net income for the year 1943 due to the renegotiated profits for that year and claimed that it was entitled to a credit or refund of franchise taxes in the amount of $ 43,915.44.  The New York Corporation Tax Bureau on April 14, 1947, allowed a refund to the petitioner for the year 1943 in*245  the amount claimed.On April 16, 1947, petitioner filed with the New York Corporation Tax Bureau a request for credit or refund in respect to its New York State franchise tax liability based upon its net income for the year 1944 and set forth therein the amount of the renegotiated excessive profits for that year and claimed that it was entitled to a credit or refund in the amount of $ 29,126.74.  The New York Corporation Tax Bureau on August 11, 1947, allowed a refund to petitioner for the year 1944 in the amount claimed.In the notice of deficiency herein it is stated that the refundable amounts of the petitioner's New York State franchise taxes for the years 1943 and 1944 should be accrued as taxable income in the year 1945.OPINION.The first issue is whether the petitioner is entitled to a deduction in 1944 for repayments in that year of price adjustments on war contracts.  The facts are not in dispute and may be summarized briefly as follows: In 1943 petitioner came to "an agreement" with the Office of the Supervisory Cost Inspector, U. S. Navy, to the effect that petitioner had overcharged its customers, who were prime contractors, for business done for them by petitioner in*246  1942.  It was stated in a letter from the Cost Inspector to the petitioner that "as agreed to at the conference, you are to issue credit memoranda to the prime contractors in the amounts as indicated" in that letter.  The parties finally agreed on a refund in the total amount of $ 393,359.50, which amount the petitioner was to refund to its customers in quarterly payments.  In the year 1943 the petitioner *738  refunded the amount of $ 197,952.03 and in the year 1944 the amount of $ 195,407.47.  The Navy Price Adjustment Board subsequently considered petitioner's 1942 profits and on February 29, 1944, issued to petitioner a clearance letter constituting a final determination that petitioner realized no excessive profits for its year 1942 on contracts subject to renegotiation. Section 43 of the Internal Revenue Code applies and is set forth in the margin.  1*247  The petitioner contends that each of these amounts is deductible in the year in which paid.  The respondent contends that the full amount was accruable and deductible in 1943.  The substance of the petitioner's argument is that the "agreement" entered into in 1943 was not binding on petitioner and therefore payments made thereunder were deductible (1) when actually paid, or (2) after the issuance of the clearance letter by the Navy Price Adjustment Board in February of 1944.  Petitioner characterizes its payments under the 1943 agreement as "voluntary" and insists that it was under no binding obligation to make the price adjustments until 1944.  In support of its position the petitioner cites the familiar cases to the effect that an expense accrues when it becomes a fixed, definite, legal obligation.  That principle is of long standing but it affords petitioner no assistance here.  There is opposed to the petitioner's argument the very substance of the principles of accrual accounting. In Security Flour Mills Co. v. Commissioner, 321 U.S. 281"&gt;321 U.S. 281, it was said that "* * * a taxpayer may not accrue an expense, the amount of which is unsettled or the liability*248  of which is contingent * * *." It cannot be seriously argued that the petitioner's liability for the full amount was unsettled in 1943.  There is a certain quantum of reasonableness implied in the term "unsettled." "The test is whether a taxpayer is justified in entertaining a reasonable expectation that an expense will be incurred." Helvering v. Russian Finance &amp; Construction Corp., 77 F.2d 324"&gt;77 F. 2d 324.We see little merit in the petitioner's view that the full amount was not accruable in 1943 because of an unenforceable agreement.  It is apparent that, enforceable or not, petitioner considered the agreement sufficiently valid to pay out in 1943, under its terms, approximately one-half of the amount due.  It is but to state a truism to say that a taxpayer may not shift deductions from year to year by prematurely accruing a deduction not then due.  Petitioner's argument that the payments were "voluntary" is more persuasive of the view that the full amount was to be paid in due course and, therefore, *739  accruable, than it is of any doubts as to the validity of the agreement.Although there is much discussion on brief of the authority of the Supervisory*249  Cost Inspector, as opposed to that of the contract renegotiation personnel, nothing appears that would indicate that what petitioner considered to be formal approval of the agreement with the Cost Inspector would not follow in due course.  Petitioner's ready acquiescence in refunding the amounts finally agreed on with the Cost Inspector is not consistent with the position that more formal approval of that official's action was required to make the obligation binding for accural purposes.  The renegotiation cases 2 cited by petitioner for its view that the obligation was not binding until the clearance letter was signed in 1944, are not determinative of the question of whether the amount should be properly accrued in 1943.  These cases are more concerned with the statutory authority of the signatories to various renegotiation agreements and the validity thereof as affecting renegotiation of war contracts.  Controversies of that nature are not controlling in the present case where we are concerned only with the "reasonable expectation that an expense will be incurred" so as to dictate its accrual.*250 The very reason for an accrual system of accounting is that it provides a means of relating, as nearly as possible, incurred but unpaid costs to true income. United States v. Anderson, 269 U.S. 422"&gt;269 U.S. 422. It is a necessary assumption that obligations incurred in the normal course of business will be duly discharged. United States v. American Can Co., 280 U.S. 412"&gt;280 U.S. 412. Any system of accounting of this nature must of necessity include certain approximations and resulting inaccuracies.  As above suggested, the answer to the test of whether or not an item should be properly accrued by the taxpayer depends inevitably upon the reasonableness of the possibility that it will eventually be paid.  It is apparent from the evidence of record that in 1943 it was fully intended that the petitioner would make the price adjustments in due course in accordance with the terms of the agreement of that year and that petitioner would not be justified in believing that the refunds would not be paid.  In our opinion, it follows that the full amount should be accrued in 1943.  We hold, therefore, that respondent did not err in disallowing the *251  deduction taken in 1944 for the amounts paid in that year.There is one other point which petitioner discusses as relating to "the equities of the situation." We have set out in our Findings of Fact the ruling signed by a Deputy Commissioner to the effect the refunds were deductible in the year actually made and the later retraction of the ruling which was signed by the same official.  Petitioner *740  states that "it was not obliged to look beyond" the first ruling "to determine its correctness." We assume that the purpose of petitioner's argument is to demonstrate that an estoppel exists.  It is well established that the various administrative rulings represent merely the current opinion of the agency concerned as applied to a given set of facts, and that the Commissioner may revise an earlier ruling or decide a question differently from year to year, at least until the administrative determination is dignified by precedent and sanction by higher authority.  See Agricultural Securities Corporation, 39 B. T. A. 1103, 1111; South Chester Tube Co., 14 T.C. 1229"&gt;14 T. C. 1229, 1235. The defense of an estoppel is not available to petitioner*252  here.The remaining questions concern (1) the deduction for Federal tax purposes of petitioner's payment of New York State franchise taxes, and (2) the year in which petitioner should have included as income the refunds received for state franchise taxes.  Because the result as to these questions largely turns on an analysis of the complicated facts involved, we deem it necessary to reassemble such of the facts as are pertinent.In July 1944 petitioner filed its New York State franchise tax return based upon net income for 1943, which income was not reduced by any of the refunds referred to under the first issue above.  The 1943 franchise tax liability so computed, was in the amount of $ 62,578.91.  Petitioner filed its New York State franchise tax return, based on net income for 1944, and showed thereon a liability in the amount of $ 47,561.52.  The aggregate of these two amounts, $ 110,140.43, was deducted in full on petitioner's Federal income and excess profits tax returns for the year 1944.  Respondent contends that this deduction should be only $ 86,373.22, the amount determined by respondent to be the correct franchise tax after income was reduced by the repayments referred*253  to in the first issue.On June 12, 1946, petitioner filed application for a revision in its liability for the New York State franchise taxes referred to above, which application was based on its reduction of reported income for the years 1943 and 1944 due to the refunds to customers in those years.  On February 21, 1947, the New York State Tax Commission replied to this application stating that refunds of state franchise taxes would not be considered until petitioner's Federal tax liability for 1943 and 1944 was finally determined.  On April 27, 1946, petitioner again requested a refund of the state franchise taxes based on its net income for 1943.  This application was unrelated to the one just referred to above and was based on a formal renegotiation agreement with the Navy Price Adjustment Board signed on January 31, 1945, whereby petitioner agreed to repay excess profits in the amount of $ 731,924 relating to business done in 1943.*741  On April 14, 1947, the New York Corporation Tax Bureau allowed a refund to petitioner in the amount claimed in the request for refund filed on April 27, 1946.  On April 16, 1947, petitioner filed a request for refund of its state franchise*254  taxes which taxes were computed on 1944 income.  This request of April 16, 1947, was based on another formal renegotiation agreement with the Navy Price Adjustment Board made on December 27, 1945, whereby petitioner agreed to repay excessive profits of $ 485,446 on war contracts for the year 1944.  The respondent contends that the refundable amounts of petitioner's New York franchise taxes for 1943 and 1944 should be accrued as taxable income in 1945.As to the question of the deduction in 1944 for the state franchise taxes, the critical point is whether petitioner knew all the factors necessary for a determination of its liability for franchise taxes paid in that year.  The record shows indisputably that when petitioner filed its franchise tax return based on net income of 1943 and 1944, the refunds discussed in the first issue were, by that time, fully paid.  Further, petitioner's original Federal returns for 1943 accrued the full amount of the refunds. In its amended return for 1943, petitioner changed this situation so as to deduct only the amount paid in 1943, but by the time petitioner filed its franchise tax returns there was no question that its income for 1943 or 1944 was*255  to be reduced by the refunds, depending only on whether the repayments were accruable in full in 1943 or deductible in both years 1943 and 1944.  In other words, there was no question at the end of 1944 that the petitioner would make the repayments since they were then paid in full.  Yet petitioner, in filing its franchise tax returns, failed to reduce its net income on which the franchise tax was based in either year, 1943 or 1944.  Petitioner, therefore, computed and paid its franchise tax in 1944 based on an amount of income which was obviously incorrect, and now insists that it is entitled to a deduction for such overpayment of its franchise taxes.  The question becomes whether a deduction is authorized for payment of that part of a tax for which there is no apparent liability, and where the tax so paid would have been otherwise deductible. This question has been resolved against petitioner in Hart Furniture Co., 12 T. C. 1103, reversed on another issue, (C. A. 5), 188 F.2d 968"&gt;188 F. 2d 968. In that case the taxpayer erroneously overpaid its Federal excise tax liability (deductible on its Federal income tax return).  We relied*256  on Cooperstown Corporation v. Commissioner, 144 F. 2d 693, certiorari denied, 323 U.S. 772"&gt;323 U.S. 772, saying:* * * Here, no obligation existed, or reasonably appeared to exist, for petitioner's payment of that part of the excise tax disallowed as a deduction by respondent and later refunded. The overpayment of this tax, for which no actual or apparent liability existed and which was made only because of petitioner's own error, can not be considered as an ordinary and necessary business *742  expense, deductible under section 23 (a); and it is obviously not deductible under section 23 (c), because of the provisions of section 23 (c) (1) (F) as added to the Internal Revenue Code by section 111 of Revenue Act of 1943.  * * *We see no distinguishing feature in the instant case.  Petitioner obviously treated the refunds made to its customers in 1943 and 1944 inconsistently on its Federal returns and its state franchise tax returns.Both parties argue the applicability of Taylor Instrument Companies, 14 T. C. 388. The syllabus of that case is sufficient alone to show that it is not determinative of*257  the question here:New York State franchise taxes computed on income, held deductible in full by an accrual basis taxpayer in year when liability arose, notwithstanding that income and corresponding tax were reduced in a subsequent year as a result of renegotiation. [Latter emphasis added.]The opinion in the Taylor case states that petitioner "owed New York State franchise taxes in the amount specified and was required to pay them." But here petitioner did not owe the amount of the taxes in dispute and such fact was apparent when the state tax return was filed.We hold, therefore, that respondent did not err in disallowing a deduction for that part of petitioner's franchise tax liability overpaid in 1944.The issue remaining involves the disposition of the refund of New York State franchise taxes made to petitioner in 1947 on the basis of petitioner's requests therefor filed on April 27, 1946 and April 16, 1947, with respect to the formal renegotiation agreements of January 31, 1945 and December 27, 1945, respectively, whereby petitioner agreed to refund excessive profits in the amounts of $ 731,924 and $ 485,446, respectively, relating to war contracts for 1943 and *258  1944, respectively.It is respondent's position that these refunds of state franchise taxes should be accrued as taxable income in 1945.  We agree.  This issue is disposed of by our holding in the recent case, H. O. Boehme, Inc., 15 T. C. 247. There, similar renegotiation agreements were reached in 1944 and 1945 with respect to business done during petitioner's years 1943 and 1944, respectively.  Pursuant to these renegotiation agreements, refunds of New York State franchise taxes were paid petitioner in 1945, relating to the 1944 renegotiation agreement, and in 1946 petitioner received a state franchise tax refund as a result of the 1945 renegotiation agreements.  Petitioner contended there that both refunds should be included in its 1944 income.  We said that:* * * It is thus apparent that by the end of 1944 petitioner knew all of the factors necessary to a determination of its credit based on its 1943 net income after renegotiation. It follows that the amount of [the refund relating *743  to the renegotiation agreement consummated in 1944] was properly accruable in petitioner's taxable year 1944.  See Taylor Instrument Cos., 14 T. C. 388.*259 With respect to the amount of $ 6,265, however, all of the elements necessary to ascertain the amount of credit were not known at the end of 1944.  One very vital factor, the final determination of excessive profits on its war contracts, was missing.  Petitioner agreed to the determination of excessive profits on its war contracts on October 17, 1945.  By virtue of this agreement all of the factors necessary to a determination of the petitioner's credit or refund of its New York franchise tax based upon its 1944 net income after renegotiation became known in its tax year 1945 and not prior thereto.  We accordingly hold that the amount of $ 6,265 is properly accruable in petitioner's taxable year 1945.There is no distinction between the Boehme case and the present proceedings as to this question.  The renegotiation agreements here were both made in 1945 and related to petitioner's business done during its years 1943 and 1944.  All the factors necessary to the accrual of these refunds were known to petitioner in 1945.  It follows from the Boehme case that the refunds were income to petitioner in 1945.  We hold, therefore, that respondent did not err in taxing these amounts *260  to petitioner in that year.Decision will be entered under Rule 50.  Footnotes1. SEC. 43. PERIOD FOR WHICH DEDUCTIONS AND CREDITS TAKEN.The deductions and credits (other than the corporation dividends paid credit provided in section 27) provided for in this chapter shall be taken for the taxable year in which "paid or accrued" or "paid or incurred," dependent upon the method of accounting upon the basis of which the net income is computed, unless in order to clearly reflect the income the deductions or credits should be taken as of a different period.  * * *↩2. Albert &amp; J. M. Anderson Manufacturing Co. v. Secretary of War, 12 T. C. 132; Lord Manufacturing Co. v. Stimson, 73 F. Supp. 984"&gt;73 F. Supp. 984↩.